        Case: 22-2399     Document: 40      Page: 1      Date Filed: 07/26/2024




                              COMMONWEALTH OF PENNSYLVANIA
                          OFFICE OF ATTORNEY GENERAL
 MICHELLE A. HENRY
  ATTORNEY GENERAL


                                                             July 26, 2024

Via CM/ECF
Patricia S. Dodszuweit, Clerk
U.S. Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790

Re: Roy Lee Williams v. Secretary Pennsylvania Department of Corrections, No.
22-2399 (Response to Appellant Roy Williams’ Rule 28(j) Letter)

Dear Ms. Dodszuweit:

       The Sixth Circuit’s decision in Finley v. Huss, 102 F.4th 789 (6th Cir. 2024),
does not support the position taken by Appellant Roy Williams. Importantly, the
Sixth Circuit affirmed the District Court’s decision granting the defendants’
motion for summary judgment with respect to inmate Timothy Finley’s procedural
due process and statutory discrimination claims. Finley, 102 F.4th at 797-798.
Critically, the Sixth Circuit determined that Finley had no viable ADA claim
because he had not presented evidence of intentional discrimination. Id. at 823-
825. That determination supports the DOC’s position that Williams cannot recover
any damages in this case. Given that Williams was housed in solitary confinement
solely because of his death sentence (and not because of an alleged disability), the
holding in Finley illustrates why this Court should affirm the District Court’s
decision. Id. at 824-825.
       The language in Finley “[c]onsidering an inmate’s personal characteristics
when determining the presence of an atypical and significant hardship” does not
help Williams’ case either. Finley, 102 F.4th at 815. The personal-capacity
defendants in that case subjectively “knew about Finley’s serious mental-health
problems and repeated instances of self-harm.” Id. at 797. That was not true here.
       The alleged suicide attempt of July 3, 1996, was properly discounted
because Williams himself described it as a “fake” attempt designed to get him
immediate access to a telephone. JA114; ECF No. 24-1 at 26. Two days later, a
                                           1
        Case: 22-2399    Document: 40     Page: 2    Date Filed: 07/26/2024




mental health professional noted that Williams had merely “intended to manipulate
the system” and had not truly attempted suicide. JA294; ECF No. 28 at 3. The
medical opinions describing Williams as mentally ill in September 1996 were
rejected during the PCRA proceedings. Commonwealth v. Williams, 846 A.2d
105, 110-111, 113 (Pa. 2004). A progress note dated August 8, 2002, stated that
Williams had “no suicide attempts” in his past. JA294; ECF No. 28 at 3. And
Williams has not presented any evidence exhibiting indications of a mental illness
between that date and December 3, 2019. Because Secretary Wetzel had no
knowledge of Williams’ alleged disability, he cannot be held liable and is shielded
by qualified immunity.

                                             Respectfully submitted,

                                             MICHELLE A. HENRY
                                             Attorney General

                                      By:    /s/ Anthony T. Kovalchick
                                             Anthony T. Kovalchick
                                             Deputy Attorney General
                                             Bar No. 89056 (Pa.)

                                             Sean A. Kirkpatrick
                                             Chief Deputy Attorney General
                                             Appellate Litigation Section
Office of Attorney General
1251 Waterfront Place
Mezzanine Level
Pittsburgh, PA 15222
Phone: (412) 565-2543
akovalchick@attorneygeneral.gov

cc:   Matthew A. Feldman, Counsel for Appellant Roy Lee Williams
      mfeldman@pailp.org (Via MC/ECF)




                                         2
